Case 16-06298-5-DMW        Doc 156 Filed 01/30/19 Entered 01/30/19 15:34:53             Page 1 of 3



                        IN THE UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                   RALEIGH DIVISION

        In Re:                                           Case Number: 16-06298-5-DMW
        PAMELA POYNTER
                               Debtor                              CHAPTER 7

                NOTICE OF MOTION TO ALLOW VOLUNTARY DISMISSAL
         DEBTOR has filed papers with the Court for relief sought in a Motion to Allow the
  Debtor to Voluntarily Dismiss her case.

         If you do not want the court to grant the relief sought in the motion, or if you want the
  Court to consider your views on the Motion, then on or before February 25, 2019, unless
  otherwise ordered, the Trustee must file with the court, pursuant to Local Rule 4002-1(g)(5), a
  written objection, an answer explaining your position, and a request for hearing at:

                                   U.S. Bankruptcy
                                   Clerk of Court
                                   P.O. Box 791
                                   Raleigh, NC

         You must also send a copy to:

  Pamela Poynter                  Marty E. Miller                  James Angel
  5205 Heelands Court             P.O. Box 3525                    Chapter 7 Trustee
  Raleigh, NC 27610               Cary, NC 27519-3525              P.O. Box 12347
                                                                   Raleigh, NC 27605

         If a response and a request for hearing is filed in writing on or before the date set
  above, a hearing will be conducted on the motion at a date, time and place to be later set
  and all parties will be notified accordingly.

        If no party files a response or requests a hearing, the court may grant the relief
  sought in the motion and may enter an order granting such relief.


         This Wednesday, January 30, 2019.



                                                 s/   Marty E. Miller
                                                 Attorney for the Debtor
Case 16-06298-5-DMW           Doc 156 Filed 01/30/19 Entered 01/30/19 15:34:53                    Page 2 of 3



                          IN THE UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF NORTH CAROLINA
                                      RALEIGH DIVISION

        In Re:
        PAMELA POYNTER                                   Case Number: 16-06298-5-DMW
                                                         CHAPTER 13
                          Debtor(s)



                          MOTION TO ALLOW VOLUNTARY DISMISSAL
          Comes now the Debtor, by and through her attorney Marty E. Miller and hereby moves pursuant
  to 11 U.S.C §364(d)(1) and E.D.N.C. LBR 4002-1(g)(5), to incur additional debt. In support of this
  motion the Debtor would show the Court that:
          1. Debtor filed her Chapter 13 petition on December 7, 2016.
          2. Debtor converted her case from Chapter 13 to Chapter 7 on December 3, 2018 in lieu of
  dismissal by the Court for failure to file a confirmable plan.
          3. Debtor now wishes to take a voluntary dismissal of her Chapter 7 case.

          WHEREFORE, Debtor prays this Court to allow the Debtor to dismiss her Chapter 7 case.
          This Wednesday, January 30, 2019.
                                                                 CARY LAW
                                                           Marty E. Miller
                                                         /s/
                                                         Marty E. Miller, State Bar #22215
                                                         Miller & Associates, PLLC
                                                         Attorney for the Debtor
                                                         P.O. Box 3525
                                                         Cary, NC 27519-3525
                                                         919-462-1640 (tel)
                                                         919-462-1641 (fax)
                                                         Marty@CaryLawNC.pro

                                      CERTIFICATE OF SERVICE
          The above-signed attorney hereby certifies that a copy of the above Motion to Allow Voluntary
  Dismissal has been served on all interested parties required under F.R.B.P. Rule 2002(a)(4) listed below
  by electronic transmission pursuant to Local Rule 5005-4(9)(b) and by First Class Mail where necessary.
  Holmes P Harden                     Neil D. Jonas on behalf of Creditor   John F. Logan
  hharden@williamsmullen.com,         Wells Fargo Bank, N.A.                lweidenhamer@ralch13.com,
  karruda@williamsmullen.com;         wbecf@brockandscott.com,              casefiles@ralch13.com,
  hharden@ecf.epiqsystems.com;        cltecfnotices@brockandscott.com       skeighley@ralch13.com
  scass@williamsmullen.com
  NC43@ecfcbis.com;                                                         Melissa E. Swaby on behalf of
  khorton@williamsmullen.com                                                Creditor Wells Fargo Bank, N.A.
                                                                            Melissa.swaby@brockandscott.com
Case 16-06298-5-DMW           Doc 156 Filed 01/30/19 Entered 01/30/19 15:34:53          Page 3 of 3



  Amerisol                         Midland Funding            Optimum Outcomes
  Po Box 7                         2365 Northside Dr Ste 30   2651 Warrenville Rd Ste
  Vassar, MI 48768                 San Diego, CA 92108        Downers Grove, IL 60515

  Dr Leonard’s/Carol Wright        Montgomery Ward            U S Dept Of Ed/gsl/atl
  Po Box 2845                      1112 7th Ave               Po Box 4222
  Monroe, WI 53566                 Monroe, WI 53566           Iowa City, IA 52244

  Webbank/Fingerhut                Onemain Finance            Wells Fargo Hm Mortgag
  6250 Ridgewood Rd                Po Box 499                 7255 Baymeadows Way
  Saint Cloud, MN 56303            Hanover, MD 21076          Des Moines, IA 50306

  I C System Inc
  Po Box 64378
  Saint Paul, MN 55164
